Case 2:04-cr-20372-SH|\/| Document 35 Filed 06/01/05 Page 1 of 2 Page|D 36

IN THE UNITED STATES DISTRICT COURT
FOR THE W'ESTERN DISTRICT OF TEN'NESSEE
WESTERN DIVISION

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ROBERTFK BITROUG

 

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W.r;). oz'= n\z, mem:“sié

UNI'I‘ED S'I'ATES OF AMERICA,
Plaintiff,
vs. CR. NO. 04-20372-Ma

ANTHONY DRIVER ,

Defendant.

 

ORDER ON CONTIN'UANCE AND SPECIFYING PERIOD OF EXCLUDA.BLE DELAY

 

This cause came on for el report date on..April 21, 2005.
Defense Counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case and to
allow for the disposition of the pending Motion to Suppress.

The Court granted the request and continued the trial date to
the rotation docket beginning July 5, 2005 at 9:30 a.m., with a
report date of Friday, June 24, 2005 at 2:00 p.m.

The period from April 21, 2005 through July 15, 2005 is
excludable under 18 U.S.C. §§ 3161(h)(8){B)(iv) and 3161(h)(l)(F)
because the interests of justice in allowing additional time to
prepare and the need to dispose of the pending motion outweigh the
need for a speedy trial,

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IT IS SO ORDERED this day of May, 2005.

M%W____

SAMUEL I-I. MAYS, JR.
UNITED STATES DISTRICT JUDGE
This dod ment entered on the docket sheet in compliance

with R.ue 55 and/or sam FHCrP on _L¢'_"Q$_>_§_

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 2:04-CR-20372 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

